Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 1 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 2 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 3 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 4 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 5 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 6 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 7 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 8 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 9 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 10 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 11 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 12 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 13 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 14 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 15 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 16 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 17 of 18
Case 2:19-cv-00381-JZB Document 1-4 Filed 01/25/19 Page 18 of 18
